Case 2:04-cv-02783-tmp Document 24 Filed 08/25/05 Page 1 of 2 Page|D 32

 

IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE UDRUEES PH h:g§
wEsTERN DIvIsIoN

 

 

ANNIE CAST, et al.,
Plaintiffs,

vs. Case No. 04-2783-P

WERNER ENTERPRISES, et al.,

Defendants.

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ORDER SETTING TRIAL

 

The parties have consented to proceed before the magistrate

judge. Therefore, the court has set the following dates:

l. The final pre-trial order shall be filed, with_a courtesy
copy delivered to chambers, byl“ég ll LUO£ , by 5:00
p.m.

2. The pre-trial conference is set for 7b455%; n?? §! ny;é
9:30 a.m.

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3.NM”Jury trial is get for|LkB§%E “AG; {L ? at 9=30 a.m.
IT Is so ORDERED.
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TU M. PHAM
United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02783 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

